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YN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA

Alexandria Division
UNITED STATES OF AMERICA )
ve ) Criminal No. 1:19-CR-253
)
KRISTOPHER LEE DALLMANN, ¢? al, )
Defendants. )

ORDER

On Thursday, July 9, 2020, defendants Kristopher Lee Dallmann and Jared Edward
Jaurequi failed to appear in the Eastern District of Virginia for scheduled hearings, and bench
warrants were issued for defendants’ arrest. United States v. Dallmann, 1:19-cr-253 (E.D. Va.
July 9, 2020) (Order). On Monday, July 20, 2020, defendants Dallmann and Jaurequi filed a joint
Motion for Reconsideration of the issuance of the bench warrants. A response from the
government would aid the decisional process on defendants’ Motion for Reconsideration.

Accordingly,

It is hereby ORDERED that the government is DIRECTED to file a brief in response to
defendants’ Motion for Reconsideration (Dkt. 364) by Thursday, Jaly 23, 2020 at 12:00 p.m.

The Clerk is directed to send a copy of this Order to all counsel of record.

Alexandria, Virginia
July 21, 2020

 

 

1.8. Fllis, 1]
United States District Judge
